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                      EXHIBIT D

                    Publication Notice
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                          IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE
 -----------------------------------------------------------X
                                                            :
In re                                                       : Chapter 11
                                                            :
Nortel Networks Inc., et al.,1                              : Case No. 09-10138 (KG)
                                                            :
                                    Debtors.                : Jointly Administered
                                                            :
                                                            :
    -----------------------------------------------------------X

                         NOTICE OF DEADLINE FOR THE FILING
              OF PROOFS OF CLAIM AGAINST NORTEL NETWORKS (CALA) INC.
                   (GENERAL NN CALA BAR DATE IS JANUARY 25, 2010)

ALL CREDITORS AND PARTIES IN INTEREST PLEASE TAKE NOTICE THAT:

        On ______, 2009, the United States Bankruptcy Court for the District of Delaware (the
“Court”) entered an Order [Docket No. ___] (the “Bar Date Order”) establishing 4:00 p.m.
(prevailing Eastern Time) on January 25, 2010 (the “General NN CALA Bar Date”) as the last
date for filing proofs of claim against Nortel Networks (CALA) Inc. (“NN CALA”).2
       Pursuant to the Bar Date Order, all persons and entities (including individuals, partnerships,
corporations, joint ventures, and trusts) except for those holders of claims listed in paragraph 6 of
the Bar Date Order that are specifically excluded from the General NN CALA Bar Date
requirements, who have a claim or potential claim against NN CALA that arose on or prior to July
14, 2009, no matter how remote or contingent such right to payment or equitable remedy may be,
MUST FILE A PROOF OF CLAIM so as to be actually received at the following address on or
before 4:00 p.m. (prevailing Eastern Time) on January 25, 2010:

IF DELIVERED BY MAIL:                                      IF DELIVERED BY HAND DELIVERY
                                                           OR OVERNIGHT COURIER:
Nortel Networks Inc. Claims Processing                     Nortel Networks Inc. Claims Processing
Center                                                     Center
c/o Epiq Bankruptcy Solutions, LLC                         c/o Epiq Bankruptcy Solutions, LLC
FDR Station, P.O. Box 5075                                 757 Third Avenue, 3rd Floor

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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number, are:
Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc. (9769), Nortel
Altsystems International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation (0251), CoreTek,
Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks Optical Components
Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826), Nortel Networks
International Inc. (0358), Northern Telecom International Inc. (6286) and Nortel Networks Cable Solutions Inc. (0567)
and Nortel Networks (CALA) Inc. Addresses for the Debtors can be found in the Debtors’ petitions, which are available
at http://chapter11.epiqsystems.com/nortel.
2
 F/k/a NN CALA, Nortel CALA Inc., Northern Telecom (CALA) Corporation, Nortel Networks, Nortel (Case No. 09-
12515, E.I.N. XX-XXXXXXX).
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New York, NY 10150-5075                        New York, NY 10017

Proofs of claim will be deemed filed only when received by Epiq Bankruptcy Solutions, LLC (the
“Claims Agent”) at the addresses listed herein on or before 4:00 p.m. (prevailing Eastern Time) on
the General NN CALA Bar Date. Proofs of claim may not be delivered by facsimile, telecopy or
electronic mail transmission.

        Your filed proof of claim form must conform substantially to Official Form No. 10. Proof
of claim forms may be obtained at http://chapter11.epiqsystems.com/nortel and at
www.uscourts.gov/bkforms. Any holder of a claim pursuant to Section 503(b)(9) must complete
the proof of claim entitled “Section 503(b)(9) Claim Request Form,” available at
http://chapter11.epiqsystems.com/nortel.

        NOTE: These procedures apply ONLY to NN CALA. A separate general bar date of
September 30, 2009 has been established in these chapter 11 cases for Debtors other than NN
CALA. Additionally, several of Nortel Networks Inc.’s affiliates are subject to creditor protection
proceedings in other jurisdictions, including Canada. Separate procedures and deadlines have been
or will be established in these other jurisdictions for the filing of claims. With respect to the
Canadian proceedings, a general bar date of September 30, 2009 at 4:00 p.m. (prevailing Eastern
time) has been established by the Canadian Court. If you believe you have claims against Nortel
Networks Corporation, Nortel Networks Limited, Nortel Networks Global Corporation, Nortel
Networks International Corporation or Nortel Networks Technology Corporation (the “Canadian
Debtors”), any such claims shall be filed in, and only in, the Canadian proceedings with the court-
appointed Monitor. Procedures for filing such claims can be found by going to the following
internet link: www.ey.com/ca/nortel.

     ANY PERSON OR ENTITY (EXCEPT A PERSON OR ENTITY WHO IS EXCUSED BY
THE TERMS OF THE BAR DATE ORDER) WHO FAILS TO FILE A PROOF OF CLAIM ON
OR BEFORE THE BAR DATE SHALL BE FOREVER BARRED AND ESTOPPED FROM (1)
ASSERTING SUCH CLAIM AGAINST NN CALA AND ITS CHAPTER 11 ESTATE AND (2)
VOTING UPON, OR RECEIVING DISTRIBUTIONS UNDER, ANY PLAN OR PLANS OF
REORGANIZATION OR LIQUIDATION IN ITS CHAPTER 11 CASE IN RESPECT OF SUCH
CLAIM.

        A copy of the Bar Date Order, a proof of claim form, and NN CALA’s Schedules of Assets
and Liabilities and Schedules of Executory Contracts and Unexpired Leases may be obtained by
written request to the Claims Agent at the following address and telephone number: Nortel
Networks Inc. Claims Processing Center, c/o Epiq Bankruptcy Solutions, LLC, 757 Third Avenue,
3rd Floor, New York, NY 10017, (646) 282-2500. These documents also are available at
http://chapter11.epiqsystems.com/nortel.

BY ORDER OF THE HONORABLE KEVIN GROSS
UNITED STATES BANKRUPTCY JUDGE

Dated: Wilmington, Delaware
December __, 2009


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